             Case 8:21-bk-11710-SC                   Doc 265 Filed 11/15/22 Entered 11/15/22 13:41:06                                       Desc
                                                      Main Document     Page 1 of 5



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address
    Robert P. Goe – State Bar No. 137019
    Brandon J. Iskander – State Bar No. 300916
    GOE FORSYTHE & HODGES LLP
    17701 Cowan Street, Suite 210, Bldg. D
    Irvine, CA 92614
    Telephone: (949) 798-2460
    Facsimile: (949) 955-9437
    Email:       rgoe@goeforlaw.com
                 biskander@goeforlaw.com




        Individual appearing without an attorney
        Attorney for: Huntington Beach Gables Homeowners
    Association

                                              UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

    In re:                                                                      CASE NO.: 8:21-bk-11710-SC
                                                                                CHAPTER: 7
    JAMIE LYNN GALLIAN,


                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion1):
                                                                                DEBTOR’S AMENDED MOTION TO AVOID LIEN UNDER
                                                                                11 U.S.C. § 522(f)
                                                                  Debtor(s)


PLEASE TAKE NOTE that the order titled ORDER DENYING DEBTOR’S AMENDED MOTION TO AVOID LIEN WITHOUT
PREJUDICE was lodged on (date) November 15, 2022 and is attached. This order relates to the motion which is docket
number 244.




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
001021334ÿ067Case
             2ÿ89 8:21-bk-11710-SC                          ÿÿEntered
                                          Doc 265 Filed 11/15/22      ÿ11/15/22 13:41:06                 Desc
                                           Main Document     Page 2 of 5

                              bcdefghijkÿmnopqoÿnroqrÿstmnuoÿvnrwÿ
                                                                                                      xyz{|}~ÿz zÿÿ
  ÿ


  ÿ

  ÿ

   ÿ
   &345697053ÿ6
   ÿ ÿ  ÿ ÿ5D6
   ÿ889:;<=>?@ABCÿÿ
   ÿÿ7ÿDEÿ  ÿÿDÿ 

         FGGHBI6ÿÿJDÿ7D
         KLMIÿOHPQI6ÿÿR%ÿ 1DDÿSD
         KLMIÿTUVWIX6ÿÿ3000,0.
         YU@ZIÿ[\HPHLQ6ÿÿJ&
         KLMIÿO]^I6ÿÿ'ÿÿ_D' 1ÿ
         `ABUVI\PÿTUVWIX6ÿÿ3))
         F\ÿ`LPI6ÿÿ0010213.33ÿaÿ.067)ÿ89
  ÿ0D'ÿ 

   D ÿJÿ_D' 1ÿ& 
   &Dÿ"ÿ ÿ& D
    E ÿ6ÿ6 1ÿ4 ÿ_ D ÿD ÿ&  
   322ÿÿ0%ÿJ
     ÿ7D 4ÿ&7ÿ+..03




611   !1 1" #$%& '(7)7*7+,-..*.3,7,2)03..0.-+)*)-3+,.+,0)*-+7/%&01('/2 010
Case 8:21-bk-11710-SC      Doc 265 Filed 11/15/22 Entered 11/15/22 13:41:06              Desc
                            Main Document     Page 3 of 5

       Robert P. Goe – State Bar No. 137019
  1    Brandon J. Iskander – State Bar No. 300916
       GOE FORSYTHE & HODGES LLP
  2    17701 Cowan Avenue, Suite 210, Bldg. D
       Irvine, CA 92614
  3    rgoe@goeforlaw.com
       biskander@goeforlaw.com
  4
       Telephone: (949) 798-2460
  5    Facsimile: (949) 955-9437
  6    Attorneys for The Huntington Beach Gables Homeowners Association
  7
  8                            UNITED STATES BANKRUPTCY COURT

  9                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 10
      In re:                                             Case No. 8:21-bk-11710-SC
 11
 12   JAMIE LYNN GALLIAN,                                Chapter 7 Proceeding

 13                                                      ORDER DENYING DEBTOR’S
                                                         AMENDED MOTION TO AVOID LIEN
 14              Debtor.                                 WITHOUT PREJUDICE
 15                                                      [DOCKET NO. 244]
 16                                                      Hearing
                                                         Date:       November 15, 2022
 17                                                      Time:       11:00 a.m.
                                                         Place:      Courtroom 5C
 18                                                                  U.S. Bankruptcy Court
                                                                     411 W. Fourth Street
 19                                                                  Santa Ana, CA 92501
 20
               The Debtor’s Amended Motion to Avoid Lien Under 11 U.S.C. § 522(f) [Docket No. 244]
 21
      (“Motion”) came on for regular hearing on November 15, 2022 before the U.S. Bankruptcy Court
 22
      for the Central District of California, Santa Ana Division, the Honorable Scott C. Clarkson
 23
      presiding. Movant Jamie Lynn Gallian appeared in pro per. Brandon J. Iskander of Goe Forsythe
 24
      & Hodges LLP appeared on behalf of respondent the Huntington Beach Gables Homeowners
 25
      Association.
 26
               The Court having reviewed the Motion, the Huntington Beach Gables Homeowners
 27
      Association’s Preliminary Opposition to the Motion [Docket No. 255], the Opposition to the Motion
 28

                                                     1
Case 8:21-bk-11710-SC       Doc 265 Filed 11/15/22 Entered 11/15/22 13:41:06                Desc
                             Main Document     Page 4 of 5


  1   [Docket No. 260], the Evidentiary Objections to the Motion [Docket No. 261], the Request for
  2   Judicial Notice in support of the Opposition to the Motion [Docket No. 262], and all other papers
  3   filed by Debtor in support of the Motion [Docket Nos. 245, 246, 247, 252, 253, 254, 257, 258, 263
  4   & 264], based on the findings of fact and conclusions of law made by the Court on the record at the
  5   hearing, and based on the Court’s tentative ruling which the Court adopted as its final ruling,
  6          IT IS ORDERED,
  7          1.      The Motion is denied without prejudice; and
  8          2.      If Debtor’s motion for reconsideration [Docket No. 157] is granted, Debtor may
  9   renew the Motion.
 10                                                   ###
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                        2
        Case 8:21-bk-11710-SC                   Doc 265 Filed 11/15/22 Entered 11/15/22 13:41:06                                       Desc
                                                 Main Document     Page 5 of 5



                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17701 Cowan Street, Suite 210, Irvine, CA 92614

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 15, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Bradford Barnhardt bbarnhardt@marshackhays.com,
        bbarnhardt@ecf.courtdrive.com,kfrederick@ecf.courtdrive.com
       Aaron E. DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Jeffrey I Golden (TR) lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law
       D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@e
        cf.courtdrive.com
       Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
       Eric P Israel eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
       Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
       Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
       Valerie Smith claims@recoverycorp.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) November 15, 2022, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


   Jamie Lynn Gallian                        Janine Jasso                                   Michael D Poole
   16222 Monterey Ln Unit 376                PO Box 370161                                  Feldsott & Lee
   Huntington Beach, CA 92649                El Paso, CA 79937                              23161 Mill Creek Dr Ste 300
                                                                                            Laguna Hills, CA 92653

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 15, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

       Scott Clarkson, USBC, 3420 Twelfth Street, Riverside, CA 92501
        (document delivery suspended due to COVID 19 protocols)

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 15, 2022                   Susan C. Stein                                            /s/Susan C. Stein
 Date                          Printed Name                                                    Signature

        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                    Page 2                        F 9021-1.2.BK.NOTICE.LODGMENT
